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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

IMPOSSIBLE FOODS INC.,                   )
                                         )
                      Plaintiff,         )
                                         )
      v.                                 )   C.A. No. 22-311 (CFC)
                                         )
MOTIF FOODWORKS, INC.,                   )
                                         )
                      Defendant.         )

ANSWER TO COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
                AND COUNTERCLAIMS

      Defendant Motif Foodworks, Inc. (“Motif”) submits this Answer and

Counterclaims to Plaintiff Impossible Foods, Inc.’s (“Impossible”) Complaint for

Patent Infringement (“Complaint”), and states as follows:


   RESPONSES TO SPECIFIC ALLEGATIONS OF THE COMPLAINT

                                   THE PARTIES

      1.    Motif lacks sufficient knowledge or information to form a belief as to

the truth or falsity of the allegations in Paragraph 1 of the Complaint and, on that

basis, denies them.

      2.    Motif admits that it is a Delaware corporation with its principal place

of business in Boston, Massachusetts. Motif denies the remaining allegations in

Paragraph 1 of the Complaint to the extent they do not fully or accurately represent

Motif’s advertisements or business operations.
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      3.     Motif lacks sufficient knowledge or information to form a belief as to

the truth or falsity of the allegations in Paragraph 3 of the Complaint and, on that

basis, denies them.

      4.     Motif denies that it has sought to improperly compete with Impossible

Foods.

      5.     Motif admits that the Complaint purports to seek damages and other

relief. Motif denies the remaining allegations of Paragraph 5 of the Complaint, and

specifically denies it has committed acts of infringement.

                             NATURE OF THE ACTION

      6.     Motif admits that the Complaint purports to allege patent infringement,

but specifically denies it has committed acts of infringement.

      7.     Motif denies the allegations contained in Paragraph 7 of the Complaint.

      8.     Motif admits that the Complaint purports to seek damages and

injunctive relief. Motif denies the remaining allegations of Paragraph 8 of the

Complaint, and specifically denies it has committed acts of infringement.

                         JURISDICTION AND VENUE

      9.     Motif admits that this Court has subject matter jurisdiction under 28

U.S.C. §§ 1331 and 1338(a) and that this action purports to arise under the Patent

Act, 35 U.S.C. § 1 et seq.

      10.    Motif admits Paragraph 10 of the Complaint.



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      11.    Motif admits Paragraph 11 of the Complaint.

                                 BACKGROUND

      12.    Motif lacks sufficient knowledge or information to form a belief as to

the truth or falsity of the allegations in Paragraph 12 of the Complaint and, on that

basis, denies them.

      13.    Motif lacks sufficient knowledge or information to form a belief as to

the truth or falsity of the allegations in Paragraph 13 of the Complaint and, on that

basis, denies them.

      14.    Motif admits that heme is part of a hemoprotein molecule called soy

leghemoglobin, or LegH, and that LegH is found in the root nodules of soy plants.

Motif lacks sufficient knowledge or information to form a belief as to the truth or

falsity of the remaining allegations in Paragraph 14 of the Complaint and, on that

basis, denies them.

      15.    Motif admits that LegH can be produced by growing soy plants,

harvesting the root nodules and isolating the hemoprotein. Motif lacks sufficient

knowledge or information to form a belief as to the truth or falsity of the remaining

allegations in Paragraph 15 of the Complaint and, on that basis, denies them.

      16.    Motif lacks sufficient knowledge or information to form a belief as to

the truth or falsity of the allegations in Paragraph 16 of the Complaint and, on that

basis, denies them.



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      17.      Motif states that Paragraph 17 of the Complaint is vague and ambiguous

regarding what alleged patents and elements Impossible Foods is referring to. As a

result, Motif lacks sufficient knowledge or information to form a belief as to the

truth or falsity of the allegations in Paragraph 17 of the Complaint and, on that basis,

denies them.

      18.      Motif admits that the ’761 Patent is titled “Methods and Compositions

for Consumables,” and that the ’761 Patent indicates that it was issued by the USPTO

on December 15, 2020. Except as expressly admitted, Motif denies the remaining

allegations of Paragraph 18 of the Complaint.

          DEFENDANT’S ALLEGED PRODUCT DEVELOPMENT.

      19.      Motif admits that it was launched as a spinout from Ginkgo Bioworks

in 2019. Motif admits that Ginkgo Bioworks is one of many investors in Motif.

Except as expressly admitted, Motif denies the remaining allegations in Paragraph

19 of the Complaint.

      20.      Paragraph 20 of the Complaint allegedly quotes Motif with no citation

for the source material. To the extent the allegations in Paragraph 20 of the

Complaint purport to describe or quote one or more documents or webpages, Motif

asserts that those documents or webpages are the best source of their full content and

context. Motif denies the allegations to the extent they do not accurately represent




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the documents’ or webpages’ full content and context. Except as expressly admitted,

Motif denies the remaining allegations in Paragraph 20 of the Complaint.

      21.   To the extent the allegations in Paragraph 21 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’

or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 21 of the Complaint.

      22.   To the extent the allegations in Paragraph 22 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’

or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 22 of the Complaint.

      23.   To the extent the allegations in Paragraph 23 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’

or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 23 of the Complaint.



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      24.    Motif admits that it makes meat alternatives that include the ingredient

HEMAMI. To the extent the allegations in Paragraph 24 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’

or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 24 of the Complaint.

      25.    Motif admits that HEMAMI contains heme. To the extent the

allegations in Paragraph 25 of the Complaint purport to describe or quote one or

more documents or webpages, Motif asserts that those documents or webpages are

the best source of their full content and context. Motif denies the allegations to the

extent they do not accurately represent the documents’ or webpages’ full content and

context. Except as expressly admitted, Motif denies the remaining allegations in

Paragraph 25 of the Complaint.

      26.    Motif admits that it made an April 2021 submission to the FDA. Motif

asserts that its FDA submission is the best source of its full content and context.

Motif denies the allegations of Paragraph 26 to the extent they do not accurately

represent the FDA submission’s full content and context. Except as expressly

admitted, Motif denies the remaining allegations in Paragraph 26 of the Complaint.




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      27.    Motif admits that HEMAMI contains bovine myoglobin and that the

GRAS notification covers HEMAMI.

DEFENDANT’S ALLEGED INFRINGING PRODUCTS AND ACTIVITIES

      28.    Motif admits that it has developed its own products, including a plant-

based burger, and has sampled them at trade shows. Except as expressly admitted,

Motif denies the remaining allegations in Paragraph 28 of the Complaint and

specifically denies it has committed acts of infringement.

      29.    Motif admits Paragraph 29 of the Complaint.

      30.    Motif admits that it has developed its own products, including a plant-

based burger containing HEMAMI, and that it provided the plant-based Burger to

consumers at Coolgreens. Except as expressly admitted, Motif denies the remaining

allegations in Paragraph 30 of the Complaint and specifically denies it has

committed acts of infringement.

      31.    Motif denies the allegations contained in Paragraph 31 of the

Complaint.

      32.    Motif admits that it launched HEMAMI and that it can be used in foods

including plant-based foods. Except as expressly admitted, Motif denies the

remaining allegations in Paragraph 32 of the Complaint and specifically denies it

has committed acts of infringement.




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      33.    Motif admits it is constructing a new research and development center

along with a pilot-scale production facility for HEMAMI and other products in

Massachusetts. Motif admits that the facility will feature three pilot plants for

fermentation, ingredient, and finished-product production, and that the food

technologies and finished products created at the site will be used for consumer

testing and customer sampling, as well as validating process techniques. Except as

expressly admitted, Motif denies the remaining allegations in Paragraph 33 of the

Complaint and specifically denies it has committed acts of infringement.

      34.    Motif admits it utilized Solar Biotech’s development and fermentation

capabilities for pilot-scale production of HEMAMI. Except as expressly admitted,

Motif denies the remaining allegations in Paragraph 34 of the Complaint and

specifically denies it has committed acts of infringement.

      35.    Motif denies the allegations contained in Paragraph 35 of the

Complaint.

      36.    Motif denies the allegations contained in Paragraph 36 of the

Complaint.

      37.    To the extent the allegations in Paragraph 37 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’



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or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 37 of the Complaint.

       38.    To the extent the allegations in Paragraph 38 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’

or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 38 of the Complaint.

       39.    To the extent the allegations in Paragraph 39 of the Complaint purport

to describe or quote one or more documents or webpages, Motif asserts that those

documents or webpages are the best source of their full content and context. Motif

denies the allegations to the extent they do not accurately represent the documents’

or webpages’ full content and context. Except as expressly admitted, Motif denies

the remaining allegations in Paragraph 39 of the Complaint.

              COUNT I. INFRINGEMENT OF THE ‘761 PATENT

       40.    Motif incorporates by reference each of its responses set forth above as

if fully set forth herein.

       41.    Motif lacks sufficient knowledge or information to form a belief as to

the truth or falsity of the allegations in Paragraph 41 of the Complaint and, on that

basis, denies them.



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      42.    To the extent the allegations in Paragraph 42 of the Complaint purport

to describe or quote one or more claims of the ‘761 Patent, Motif asserts that ‘761

Patent is the best source of its full content and context. Motif denies the allegations

to the extent they do not accurately represent the full content and context of the ‘761

Patent. Except as expressly admitted, Motif denies the remaining allegations in

Paragraph 42 of the Complaint.

      43.    Motif denies the allegations contained in Paragraph 43 of the

Complaint.

      44.    Motif denies the allegations contained in Paragraph 44 of the

Complaint.

      45.    Motif denies the allegations contained in Paragraph 45 of the

Complaint.

      46.    Motif denies the allegations contained in Paragraph 46 of the

Complaint.

      47.    Motif denies the allegations contained in Paragraph 47 of the

Complaint.

      48.    Motif denies the allegations contained in Paragraph 48 of the

Complaint.

      49.    Motif denies the allegations contained in Paragraph 49 of the

Complaint.



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      50.    Motif denies the allegations contained in Paragraph 50 of the

Complaint.

      51.    Motif denies the allegations contained in Paragraph 51 of the

Complaint.

      52.    Motif denies the allegations contained in Paragraph 52 of the

Complaint.

      53.    Motif denies the allegations contained in Paragraph 53 of the

Complaint.

      54.    Motif denies the allegations contained in Paragraph 54 of the

Complaint.

                   DEFENDANT’S PRAYER FOR RELIEF

      Motif respectfully requests that the Court enter judgment in its favor and

against Impossible Foods, that Impossible Foods take nothing thereby, and that the

Court grant Motif such other and further relief as the Court deems just and proper.


                         DEFENSES TO COMPLAINT

      Subject to the responses above, Motif alleges and asserts the following

defenses in response to the allegations, undertaking the burden of proof only as to

those defenses deemed affirmative defenses by law, regardless of how such defenses

are denominated herein. In addition to the affirmative defenses described below,




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subject to its responses above, Motif specifically reserves all rights to allege

additional affirmative defenses that become known through the course of discovery:

                  FIRST DEFENSE – NON-INFRINGEMENT

      Motif does not infringe and has not directly or indirectly infringed, either

literally or under the doctrine of equivalents, and is not liable for infringement of,

any valid and enforceable claim of the ‘761 Patent, including under the doctrine of

equivalents.

                        SECOND DEFENSE – INVALIDITY

      The claims of the ‘761 Patent are invalid and unenforceable under 35 U.S.C.

§ 101 because the claims are directed to abstract ideas or other non-statutory subject

matter and do not contain an inventive concept. The claims of the ‘761 Patent are

also invalid and unenforceable under 35 U.S.C. § 102 because the claims lack

novelty and are taught and suggested by the prior art. The claims of the ‘761 Patent

are also invalid and unenforceable under 35 U.S.C. § 103 because the claims are

obvious in view of the prior art. The claims of the ‘761 Patent are also invalid and

unenforceable for obviousness-type double patenting. And the claims of the ‘761

Patent are invalid and unenforceable for failure to satisfy the conditions set forth in

35 U.S.C. § 112, including failure of written description, lack of enablement, and

claim indefiniteness.




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            THIRD DEFENSE – FAILURE TO STATE A CLAIM

      Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

               FOURTH DEFENSE – EQUITABLE DEFENSES

      Plaintiff is barred, in whole or in part, by estoppel, acquiescence, waiver,

unclean hands, and/or other equitable defenses.

              FIFTH DEFENSE – LIMITATION ON DAMAGES

      Plaintiff’s right to seek damages is limited, including without limitation by 35

U.SC. §§ 287, and/or 288.

                SIXTH DEFENSE – NO INJUNCTIVE RELIEF

      Plaintiff’s remedies at law are adequate, and its alleged injury is not

immediate or irreparable. As such, equitable relief would be inappropriate for any

determined infringement of the patents asserted in the Complaint.

      SEVENTH DEFENSE – PROSECUTION HISTORY ESTOPPEL

      Plaintiff’s claims of patent infringement are barred, in whole or in part, by the

doctrine of prosecution history estoppel based on statements, representations,

concessions, admissions, arguments, and/or amendments, whether explicit or

implicit, made by or on behalf of the applicants during the prosecution of the patent

applications that led to the issuance of the patent asserted in the Complaint.




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                          RESERVATION OF RIGHTS

      Motif hereby reserves the right to amend its Answer and reserves any and all

additional defenses available to it under Title 35, U.S.C., or the rules, regulations,

and laws related thereto, the Federal Rules of Civil Procedure including any defenses

set out in Rule 8(c), the Rules of this Court, or otherwise in law or equity, now

existing or later arising, as may be discovered or become applicable throughout

discovery or otherwise in the course of litigation.

                               COUNTERCLAIMS

      Defendant and Counterclaimant Motif hereby alleges the following

counterclaims against Plaintiff Impossible Foods:

                                  THE PARTIES

      1.     Upon information and belief, Plaintiff Impossible Foods is a Delaware

corporation with its principal place of business at 400 Saginaw Drive, Redwood

City, California.

      2.     Motif is a Delaware corporation with a principal place of business at 27

Drydock Avenue, Boston, Massachusetts.

                         JURISDICTION AND VENUE

      3.     This is a civil action regarding allegations of patent infringement

arising under the patent laws of the United States, Title 35 of the United States Code,

in which Impossible Foods seeks relief under the Declaratory Judgment Act. This



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Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331,

1338, 2201, and 2202.

       4.      The Court has personal jurisdiction and venue over Impossible Foods

because it consented to personal jurisdiction and venue by filing the Complaint in

this action.

                                      COUNT I:

    DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO.

                                      10,863,761

       5.      The allegations of the preceding counterclaim paragraphs above are

incorporated by reference as if fully set forth herein.

       6.      Motif is not infringing, has not infringed, and is not liable for any

infringement of any valid and enforceable claim of the ‘761 Patent, either directly,

indirectly, contributorily, by inducement, literally, under the doctrine of equivalents,

or in any other manner. Impossible Foods is not entitled to any relief of any claim

in the Complaint for at least the reasons in this Answer and Counterclaims, including

Motif’s affirmative defenses.

       7.      Absent a declaration of non-infringement of the ‘761 Patent, Impossible

Foods will continue to assert claims against Motif and will, in this way, continue to

cause damage to Motif’s business and reputation.




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      8.     To resolve the issues raised by Impossible Foods and to afford relief

from uncertainty and controversy that Impossible Foods’ allegations have created,

Motif is entitled to declaratory judgment that it has not infringed and is not infringing

any valid and enforceable claim of the ‘761 Patent.

      9.     Accordingly, Motif seeks a declaration that the claims of the ‘761

Patent are not infringed.

                                     COUNT II:

    DECLARATION OF INVALIDITY OF U.S. PATENT NO. 10,863,761

      10.    The allegations of the preceding counterclaim paragraphs above are

incorporated by reference as if fully set forth herein.

      11.    One or more of the claims of the ‘761 Patent are invalid for failing to

meet one or more of the conditions for patentability under Title 35 of the United

States Code, and/or the rules, regulations, and laws related thereto, including without

limitation §§ 101, 102, 103, and/or 112.

      12.    The claims of the ‘761 Patent are directed to an abstract idea without

any inventive concept, and therefore claim subject matter that is ineligible for

patenting.

      13.    The claims of the ‘761 Patent lack novelty and are taught and suggested

by the prior art and/or are obvious in view of the prior art.




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      14.    The claims of the ‘761 Patent contain obviousness-type double

patenting.

      15.    The claims of the ‘761 Patent fail to include an adequate written

description, lack enablement, and/or are indefinite.

      16.    To resolve the issues raised by Impossible Foods and to afford relief

from uncertainty and controversy that Impossible Foods’ allegations have created,

Motif is entitled to declaratory judgment that the claims of the ‘761 Patent are not

valid and enforceable.

                             PRAYER FOR RELIEF

      WHEREFORE, Motif respectfully requests that this Court enter judgment in

its favor and against Impossible Foods as follows:

      A.     Dismissing the Complaint in its entirety and with prejudice;

      B.     Denying all relief that Impossible Foods seeks in its Complaint;

      C.     Declaring that Motif has not infringed, and is not infringing, the ‘761

Patent asserted in the Complaint;

      D.     Declaring that the claims of ‘761 Patent asserted in the Complaint are

invalid, unpatentable and/or unenforceable against Motif;

      E.     Finding this case to be exceptional under 35 U.S.C. § 285 and awarding

Motif all reasonable costs, experts’ fees, and attorneys’ fees; and

      F.     Awarding any other relief that the Court deems just and equitable.



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                        DEMAND FOR JURY TRIAL

            Counterclaimant Motif hereby demands a trial by jury on all issues so

triable raised by Impossible Foods’ Complaint or by Motif’s Answer and

Counterclaims.


                                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP

CO COUNSEL:                            /s/ Jeremy A. Tigan

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                                       Inc.
April 29, 2022




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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 29, 2022, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send

notification of such filing to all registered participants.

      I further certify that I caused copies of the foregoing document to be served

on April 29, 2022, upon the following in the manner indicated:

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